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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                             4:17CR3017

      vs.
                                                            ORDER
WILLIAM J. ALLEN, and ALLIE
JOHNSON,

                  Defendants.


      Defendant Johnson has moved to continue the pretrial motion deadline,
(Filing No. 21), and the trial, (Filing No. 22), because Defendant needs additional
time to investigate this case and prepare for trial. The motion to continue is
unopposed. Based on the showing set forth in the motion, the court finds the
motion should be granted. Accordingly,

      IT IS ORDERED:

      1)    Defendant Johnson’s motions to continue, (Filing Nos. 21, and 22),
            is granted.

      2)    As to both defendants, pretrial motions and briefs shall be filed on
            or before June 19, 2017.

      3)    As to both defendants, trial of this case is continued and is set to
            commence before the Honorable John M. Gerrard at 9:00 a.m on
            July 17, 2017 or as soon thereafter as the case may be called, for a
            duration of 5 trial days, in Lincoln, Courtroom #1. Jury selection will
            be held at commencement of trial.

      4)    The ends of justice served by granting the motion to continue
            outweigh the interests of the public and the defendant in a speedy
            trial, and as to both defendants, the additional time arising as a
            result of the granting of the motion, the time between today’s date
            and June 19, 2017, shall be deemed excludable time in any
            computation of time under the requirements of the Speedy Trial Act,
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          because although counsel have been duly diligent, additional time is
          needed to adequately prepare this case for trial and failing to grant
          additional time might result in a miscarriage of justice. 18 U.S.C. §
          3161(h)(1), (h)(6) & (h)(7). Failing to timely object to this order as
          provided under this court’s local rules will be deemed a waiver of any
          right to later claim the time should not have been excluded under the
          Speedy Trial Act.

    April 12, 2017.
                                         BY THE COURT:

                                         s/ Cheryl R. Zwart
                                         United States Magistrate Judge




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